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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  JASON LEOPOLD, BUZZFEED, INC.,


                            Plaintiffs,

                  v.                                   Case No. 1:19-cv-1278 (RBW)

  U.S. DEPARTMENT OF JUSTICE, et al.,

                            Defendants.


                                      JOINT STATUS REPORT

       Pursuant to the Court’s January 13, 2020, Order, Dkt. 53, Plaintiffs Jason Leopold and

BuzzFeed, Inc., and Defendant U.S. Department of Justice (“DOJ”), hereby submit this Joint

Status Report in this Freedom of Information Act (“FOIA”) case.

       The Court ordered the parties to meet and confer regarding Plaintiffs’ “request for all

documents and records collected, maintained and stored by the Office of Special Counsel

Mueller since May 17, 2017 during the Office’s investigation” and “file a joint status report

regarding how they wish to proceed with respect to this FOIA request” by February 24, 2020.

Id.

       In compliance with the Court’s Order, the parties have met and conferred several times

regarding Plaintiffs’ FOIA request but have been unable to reach a resolution at this point. The

parties respectfully request that they be permitted to continue their discussions. Defendant

anticipates providing a response to issues raised during the parties’ most recent conference by

Friday, February 28, 2020. The parties respectfully propose that they file an additional joint

status report in 15 days (on March 10, 2020) regarding how they wish to proceed with respect to

Plaintiffs’ FOIA request.
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Dated: February 24, 2020           Respectfully submitted,

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